                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    JOANN INC., et al.,1                                        )        Case No. 25-10068 (CTG)
                                                                )
                              Debtors.                          )        (Jointly Administered)
                                                                )        Re: Docket Nos. 157 and 407

                 ORDER (I) EXTENDING THE DEADLINE FOR
         THE DEBTORS TO ASSUME OR REJECT UNEXPIRED LEASES OF
     NONRESIDENTIAL REAL PROPERTY, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for the entry of an order (this “Order”), (a) authorizing the Debtors to

extend the deadline by which the Debtors must assume or reject unexpired leases of nonresidential

real property by ninety days, through and including August 13, 2025, without prejudice to the

Debtors’ right to seek further extensions; and (b) granting related relief, all as more fully set forth

in the Motion; and upon the First Day Declaration; and the United States District Court for the

District of Delaware having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was

referred to the Court under 28 U.S.C. § 157 and the Amended Standing Order of Reference from

the United States District Court for the District of Delaware, dated February 29, 2012; and this

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court

having found that this Court may enter a final order consistent with Article III of the United States




1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: JOANN Inc. (5540); Needle Holdings LLC (3814); Jo-Ann Stores, LLC (0629); Creative Tech
      Solutions LLC (6734); Creativebug, LLC (3208); WeaveUp, Inc. (5633); JAS Aviation, LLC (9570); joann.com,
      LLC (1594); JOANN Ditto Holdings Inc. (9652); Dittopatterns LLC (0452); JOANN Holdings 1, LLC (9030);
      JOANN Holdings 2, LLC (6408); and Jo-Ann Stores Support Center, Inc. (5027). The Debtors’ mailing address
      is 5555 Darrow Road, Hudson, Ohio 44236.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
Constitution; and this Court having found that venue of this proceeding and the Motion in this

district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the

relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein, if any, at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish just

cause for the relief granted herein; and upon all of the proceedings had before this Court; and after

due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The time period within which the Debtors must assume or reject any Unexpired

Leases pursuant to section 365(d)(4)(B)(i) of the Bankruptcy Code is extended through and

including (a) the earlier of (x) entry of an order confirming a plan of reorganization (subject to the

effectiveness of such plan of reorganization) and (y) (i) August 13, 2025 or (ii) such other date that

is mutually agreed to between the applicable Debtor and the counterparty to such Unexpired Lease,

and (b) such other date that is mutually agreed to between the applicable Debtor and the

counterparty to such Unexpired Lease; provided that, if the Debtors file a motion to assume or

reject an Unexpired Lease prior to such date, the time period within which the Debtors must

assume or reject such Unexpired Lease pursuant to section 365(d)(4)(B)(i) of the Bankruptcy Code

shall be deemed extended through and including the date that the Court enters an order granting or

denying such motion.




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       3.      This Order is without prejudice to the Debtors’ rights to request additional

extensions of time to assume or reject the Unexpired Leases consistent with section 365(d)(4) of

the Bankruptcy Code.

       4.      Notwithstanding anything to the contrary in this Order, the time period within

which the Debtors must assume or reject the Unexpired Lease by and between the Debtors and

B&B South Plaza Holdings, LLC for property located in South Plaza Shopping Center, Ft. Myers,

Florida, pursuant to section 365(d)(4)(B)(i) of the Bankruptcy Code is extended through and

including May 31, 2025, without prejudice to the Debtors’ right to seek further extension.

       5.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief (including any payment made in accordance with this Order), nothing in this Order is

intended as or shall be construed or deemed to be: (a) an implication or admission as to the amount

of, basis for, or validity of any particular claim against the Debtors under the Bankruptcy Code or

other applicable non-bankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

rights to dispute any particular claim on any grounds; (c) a promise or requirement to pay any

particular claim; (d) an implication, admission, or finding that any particular claim is an

administrative expense claim, other priority claim, or otherwise of a type specified or defined in

this Order or the Motion or any order granting the relief requested by the Motion; (e) a request or

authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to section 365

of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability, or perfection

of any lien on, security interest in, or other encumbrance on property of the Debtors’ estates; or

(g) a waiver or limitation of the Debtors’ or any other party in interest’s claims, causes of action,

or other rights under the Bankruptcy Code or any other applicable law.




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       6.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of the Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       7.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       8.     This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




        Dated: February 14th, 2025            CRAIG T. GOLDBLATT
        Wilmington, Delaware                  UNITED STATES BANKRUPTCY JUDGE




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